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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF ARKANSAS
                            FAYETTEVILLE DIVISION

ANITA CLINARD                                                                     PLAINTIFF

v.                                 No. 5:20-CV-05188

WASHINGTON REGIONAL MEDICAL CENTER                                              DEFENDANT

                                       JUDGMENT

     Pursuant to the opinion and order entered in this case on this date, this case is DISMISSED

WITH PREJUDICE.

     IT IS SO ADJUGED this 13th day of October, 2021.


                                                          /s/P. K. Holmes, ΙΙΙ
                                                          P.K. HOLMES, III
                                                          U.S. DISTRICT JUDGE
